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                           ORDER
                 IT IS SO ORDERED
                 DATED: 3:24 pm, December 30, 2020



                 BRENDA WEKSLER
                 UNITED STATES MAGISTRATE JUDGE
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